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                             IN THE UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

     WHAM-O HOLDING, LTD. and
     INTERSPORT CORP. d/b/a WHAM-O,
                                                               Case No.: 1:22-cv-02158
               Plaintiffs,
                                                               Judge Andrea R. Wood
     v.

     THE PARTNERSHIPS AND UNINCORPORATED                       Magistrate Judge M. David Weisman
     ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

               Defendants.

                                     NOTICE OF DISMISSAL

          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                 NO.                                   DEFENDANT
                  33                                      Dikeiuta
                 216                          Wenzhou Evernew Trading Co., Ltd.
                 212                         Shenzhen Zhirun Electronics Co., Ltd.


DATED: June 6, 2022                                    Respectfully submitted,

                                                       /s/ Keith A. Vogt
                                                       Keith A. Vogt (Bar No. 6207971)
                                                       Keith Vogt, Ltd.
                                                       33 W. Jackson Blvd., #2W
                                                       Chicago, Illinois 60604
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                                                       E-mail: keith@vogtip.com

                                                       ATTORNEY FOR PLAINTIFF
    Case: 1:22-cv-02158 Document #: 29 Filed: 06/06/22 Page 2 of 2 PageID #:3065




                                 CERTIFICATE OF SERVICE


        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 6, 2022 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
